                          SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (the "Agreement'') is made by and between
CAROL MEL TON ("Ms. Melton"), and the POUGHKEEPSIE CITY SCHOOL DISTRICT (the
"District'').

                                              RECITALS

         A.        Ms. Melton is currently employed by the District as a Teaching Assistant.

        B.     In November 2020, the District's Board of Education voted to proffer charges
against Ms. Melton pursuant to section 3020-a of the New York Education Law, which charges
were subsequently amended on April 7, 2021 (the "3020-a Charges"). The 3020-a Charges are
attached hereto as Exhibit "A". Charge l O of the 3020-a Charges alleged that Ms. :\1elton failed
to cooperate with a Section 913 examination ordered by the District ('·Charge IO"). Charge 4 of
the 3020-a Charges alleged that Ms. Melton failed to participate in a Superintendent's conference
day (''Charge 4").


       C.    The parties appointed Ms. Julie Torrey, Esq. ("Ms. Torrey") to preside over the
3020-a Charges.

        D.       On October 2 1, 2019, Ms. Melton filed a civil action in the Southern District of
New York, Docket No. 7:1 9-cv-09755-VB, wherein she alleged, among other issues, that the
District retaliated against her (the "Federal Action").


        E.     On D ecember 30, 2020, Ms. Melton amended her complaint in the Federal Action
and alleged, among other allegations, that the District retaliated against her by fi ling the November
2020 3020-a Charges against her.

        F.      The District and Ms. \1elton, wishing to resolve any remaining issues arising out
of or relating to Charges 4 and 10 that may exi st between them fully and expeditiously, hereby
agree as fo llows:

                                            AGREEMENT

        1.      E ffective Date. The obligations set forth in this Agreement shall become binding,
enfo rceable, and i1Tevocable upon its execution by both parties.

        2.      Return to Payroll. Within fourteen (14) days of the execution of this Agreement,
the District shall reinstate Ms. Melton to the District' s payroll. Ms. Melton shall remain on
payroll unless and until Ms. Torrey orders her tc1mination.

        3.      Back Pay.    W ithin fourteen (1 4) days of the execution of this Agreement, the
District shall make payment to Ms. Melton in the amount of $1 8,477, minus applicable



12691991 .1 6/3012021
withholdings and deductions, representing back pay for the period of Febrnary I 0, 202 1 to the
date of her reinstatement pursuant to paragraph 2, above.

       4.      Withdrawal of Charges 4 and 10.       Within twenty-four (24) hours of the
execution of this Agreement, the District will advise Ms. Torrey chat the District is withdrawing
Charges 4 and I 0.

        5.      Release. Ms. Melton hereby releases the District, current and fo rmer members of
the Board of Education (in their individual and representative capacities), all of the District 's
current or former employees, agents, and representatives (in their individual and representative
capacities), from any and all causes of action, suits, damages, claims, proceedings, liabilities, and
demands arising out of or relating to Charge 4 and/or Charge 10, including but not limited to the
District's decision to bring Charges 4 and 10 against her and the facts alleged therein, whether
asserted or unasserted, whether known or unknown. Ms. Melton specifically releases any and all
claims arising out of or relating to Charges 4 and l Othat she has already asserted, or that she
could assert, in the Federal Action.

       6.     Non-Admission. By entering into this Agreement, neither the District nor Ms.
Melton admits to having engaged in any unlawful or inappropriate act, or any other wrongdoing
whatsoever.

         7.     Confidentiality. Ms. Melton shall not, directly or indirectly, communicate, make
known, or divulge to any non-party to this Agreement the terms of this Agreement unless required
by law to do so. Ms. Melton may, however, communicate the terms of this Agreement to her
spouse, attorney, and accountantltax advisor, provided they agree to maintain confidentiality. Ms.
Melton understands that if she violates this confidentiality provision, the D istrict shall have the
right to pursue an action against her for breach of contract.

        8.      Choice of Law and Choice of Venue. This Agreement shall be constrned and
enforced in accordance with and governed by the laws of the State of New York. The parties ag ree
that any dispute concerning the enforcement or interpretation of this Agreement shall be submitted
for resolution to the Supreme Court of the State of New York, County of Dutchess .

         9.      Entire Agreement. This represents the entire agreement and understanding among
the parties, and it supersedes all prior agreements or understandings whether oral or written. Each
party acknowledges that no representation, promise, inducement, or statement of intention has
been made by either party to this Agreement that is not embodied in this Agreement, either
expressly or through incorporation by reference, and agrees that neither party shall be bound by,
or liable for, any alleged representation, promise, inducement, or statement of intention that is not
set forth in this Agreement, either expressly or through incorporation by reference.

        10.    Severabilitv. Should any term, provision, or part of this Agreement be declared
unenforceable by a court or other tribunal of competent jurisdiction, it shall not adversely affect
the enforceability of any other term, provision, or part.




12691991.1 6/30/2021
         11.    Modification. This Agreement may not be modified except by a written document
that is signed by both parties.

        12.     Captions. The captions of the paragraphs of this Agreement are meant for ease of
reference only, and are not intended to define or limit the scope, intent, or meaning of any provision
of this Agreement.

       13.    Signatures. This Agreement may be signed in counterparts, and facsimile or
scanned signatures shall have the same effect as original signatures.




                                     (Signatures on next page)




1269199 1.1 613012021
CAROL MEL TON




                                   Dated: June 30, 2021
Carol Melton




POUGHKEEPSIE CITY
SCHOOL DISTRICT


                                   Dated: June 30, 2021
        Dr. n J. Rosser
        Superin ndent of Schools




12691991.1 6/3012021
